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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA ex rel.
DR. ANA MARIA ABREU VELEZ, and
DR. MICHAEL S. HOWARD,
                                                       Civil Action No.
         Plaintiffs-Relators,
                                                       1:19-CV-3299-AT
v.
                                                Filed under seal and ex parte
GILEAD SCIENCES, INC., et al.

         Defendants.



                    The United States of America’s
         Renewed Motion to Dismiss and Memorandum in Support

     The United States of America previously moved to dismiss this action under

31 U.S.C. § 3729(C)(2)(A) because the plaintiffs-relators filed pro se, which is not

permitted under the False Claims Act. The relators then retained an attorney,

causing the United States to withdraw its motion.

     The relator’s attorney recently submitted a motion to withdraw from the case.

Because the relators are again acting pro se, the United States respectfully renews

its motion to dismiss. The substance of the earlier motion is repeated below for

the Court’s convenience.



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                        Background and Procedural History

    The plaintiffs-relators filed this case under the qui tam provisions of the False

Claims Act, 31 U.S.C. §§ 3730(b). They served the complaint on the United States

on December 3, 2019.

    After reviewing the complaint, the undersigned attorney for the United States

advised the relators that they would need to obtain counsel or else their suit

would be dismissed. The relators questioned why they needed to retain counsel.

In response, the undersigned attorney sent the relators a copy of a case stating

that relators must be represented by counsel. After reviewing that case, relators

confirmed via email that they intended to proceed pro se.1 As a result, the United

States moved to dismiss.

    In response to the motion to dismiss, the relators hired an attorney, who

appeared in the case and suggested that the motion to dismiss was moot. The

United States agreed and withdrew its motion. The United States requested a

one-month extension to give the new attorney time to confer with his clients,

which the Court granted.




1   Feb. 11, 2020 email from Dr. Abreu Velez to AUSA DeCinque.
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   After conferring with his clients, relator’s counsel filed a motion to withdraw

as counsel on April 28, 2020. No substitute counsel has appeared or is expected

to appear. Relators have confirmed in messages to the undersigned that they

again intend to proceed pro se.

                       Argument and Citation of Authority

   That False Claims Act imposes treble damages on persons who, among other

things, knowingly present false claims to the United States or knowingly avoid

an obligation to pay money to the United States. See id. § 3729(a). Under the Act,

private parties (known as “relators”) may file actions on behalf of the United

States. Id. § 3730(b). These actions are filed under seal so that the government can

investigate before the defendants and other witness become aware of the

allegations or the relator’s identity. Id. § 3730(b)(2). If the action goes forward,

relators are entitled to a share of the proceeds of any judgment or settlement. Id.

§ 3730(d).

   The United States Court of Appeals for the Eleventh Circuit has held that a

relator may not bring a lawsuit in the name of the United States if he or she is not

represented by an attorney. Timson v. Sampson, 518 F.3d 870, 873 (11th Cir. 2008).

In Timson, the court explained that 28 U.S.C. § 1654—the general statute

permitting parties to proceed pro se—does not allow a pro se party to bring an

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action for anyone other than himself or herself. See id. Absent an explicit

statutory authorization for qui tam suits to be brought pro se, the court held that

Section 1654 governed. See id. at 873–74. The court also expressed concerns that a

different rule would be unworkable because “the safeguards Timson outlines do

not sufficiently replace adequate legal representation for the United States’s

interests, particularly where the United States would be bound by the judgment

in future proceedings.” Id.

    Accordingly, the United States renews its motion to dismiss the complaint

under 31 U.S.C. § 3730(c)(2)(A), which says that the government “may dismiss

the action notwithstanding the objections of the person initiating the action if the

person has been notified by the Government of the filing of the motion and the

court has provided the person with an opportunity for a hearing on the motion.”

See generally Swift v. United States, 318 F.3d 250, 252–53 (D.C. Cir. 2003)

(explaining government’s right to dismiss); United States ex rel. Sequoia Orange Co.

v. Baird-Neece Packing Corp., 151 F.3d 1139, 1145 (9th Cir. 1998) (same). The United

States does not have to intervene before seeking dismissal. United States v.

Everglades Coll., Inc., 855 F.3d 1279, 1286 (11th Cir. 2017).

   To obtain dismissal, the government must notify the relator “of the filing” of

the motion to dismiss, and the court must “provide[] the person with an

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opportunity for a hearing on the motion.” 31 U.S.C. § 3730(c)(2)(A). As discussed

above, the undersigned counsel has notified the relators of the United States’

intent to file a motion to dismiss. The United States will also serve the current

motion on the relators. As for the hearing, in this context, a “hearing” does not

have to be a full-fledged, in-person evidentiary hearing but rather a simple

opportunity—perhaps through briefing—for the relators to argue why their case

should not be dismissed. See Ridenour v. Kaiser-Hill Co., 397 F.3d 925, 931 & n.10

(10th Cir. 2005) (hearings should be granted only when needed and are not

meant to burden the courts); Martin v. United States Dep’t of Agric., No. CV 118-

009, 2019 WL 166554, at *3 (S.D. Ga. Jan. 10, 2019) (refusing to hold unnecessary

evidentiary hearing); United States ex rel. Nicholson v. Spigelman, No. 10 C 3361,

2011 WL 2683161, at *3 (N.D. Ill. July 8, 2011) (same).

                                    Conclusion

   For the reasons stated above, the United States respectfully requests that the

current lawsuit be dismissed with prejudice as to the relators and without

prejudice as to the United States. The United States also requests that the seal

on this case be lifted and all previous filings be unsealed per 31 U.S.C. § 3730.

   By statute, the relators must be given an opportunity to respond to this

motion before the requested orders are entered.

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                            Respectfully submitted,

                            BYUNG J. PAK
                            United States Attorney

                             s/ Anthony C. DeCinque
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                            Assistant United States Attorney

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                          Certificate of Compliance

  I hereby certify, pursuant to Local Rule 7.1(D), that the above motion to

dismiss and memorandum of law was prepared in 13-point, Book Antiqua font.



                                       s/ Anthony C. DeCinque
                                      ANTHONY C. DECINQUE
                                      Assistant United States Attorney




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                              Certificate of Service

   I hereby certify that the above motion to dismiss and memorandum in

support was served by mailing a copy by first class mail, with adequate postage

affixed, addressed to:

   Dr. Ana Maria Abreu Velez
   1192 Cumberland Road, NE
   Atlanta, GA 30306

   Dr. Michael Howard
   Georgia Dermatopathology Associates
   1610 Lavista Road, NE, Suite 4
   Atlanta, Georgia 30329

   Relators, pro se


This document was not served on the defendants because this case remains

under seal.



   This 30th day of April, 2020.

                                        s/Anthony C. DeCinque
                                       ANTHONY C. DECINQUE
                                       Assistant United States Attorney




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